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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE


                                                  )
   FRANCISCO B. BURILA, JR.,                      )
                                                  )
                   Plaintiff                      )
                                                  )
                                                  )
   V.                                             )
                                                  )        No.: 2:21-cv-00332-GZS
   LIFE INSURANCE COMPANY OF                      )
   NORTH AMERICA                                  )
                                                  )
                    Defendant                     )


                  STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the above-captioned

  case is hereby dismissed with prejudice and without costs or attorney’s fees to any party.

  DATE: __4/5/22________                __/s/ Maria Fox____________________________
                                        Maria Fox, Bar No. 9957
                                        Attorney for the Plaintiff
                                        Murray, Plumb & Murray
                                        75 Pearl Street, PO Box 9785
                                        Portland, ME 04104-5085
                                        (207) 699 3306
                                        mfox@mpmlaw.com


  DATE: ___4/5/22__________             ___/s/ Byrne Decker_________________________
                                        Byrne J. Decker, Bar No. 8312
                                        Attorney for the Defendant
                                        Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                                        Two Monument Square, Suite 703
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                                            STIP. OF DISMISSAL WITH PREJUDICE -- 1
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                               CERTIFICATE OF SERVICE
         I, Maria Fox, Esq., attorney for Plaintiff, hereby certify that:

                   STIPULATION OF DISMISSAL WITH PREJUDICE

  has been served this day on Defendant by filing with the Clerk of Court using the CM/ECF
  system, which will effect service on me and all other registered counsel for parties of
  record.

         Dated at Portland, Maine, this 5th day of April, 2022.

                                        ___/s/ Maria Fox___________________________
                                        Maria Fox, Bar No. 9957
                                        Attorney for the Plaintiff
                                        (207) 699 3306
                                        mfox@mpmlaw.com

  Murray, Plumb & Murray
  75 Pearl Street, PO Box 9785
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                                             STIP. OF DISMISSAL WITH PREJUDICE -- 2
